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                                                             UNITED STATES DISTRICT COURT
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                                                         CENTRAL DISTRICT OF CALIFORNIA
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                                                                  SOUTHERN DIVISION
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                            12   Ellison Educational Equipment, Inc.,       CASE NO.: 8:18-cv-02270-DOC-KES
                                 a California corporation,
                            13                                              Honorable David O. Carter
                                                       Plaintiff and
                            14                         Counter Defendant,
                            15                                               ORDER ON JOINT
                                                       vs.                   STIPULATION OF DISMISSAL
                            16   Prima Marketing, Inc., a California         WITH PREJUDICE [28]
                                 corporation, and Does 1-10,
                            17
                                                       Defendant and
                            18                         Counter Claimant.
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S TRADLING Y OCCA
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        LAWYERS
   N E W P O R T B E AC H

                                 4831-5163-8166v2/102434-0012
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                            1            Upon consideration of the parties’ stipulation and good cause having been
                            2    shown, all claims and counterclaims are dismissed with prejudice. Each side shall
                            3    bear their own costs, expenses and attorneys’ fees.
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                            5            IT IS SO ORDERED.
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                            8    DATED: May 15, 2019                            _______________________
                                                                                HONORABLE DAVID O. CARTER
                            9                                                   UNITED STATES DISTRICT JUDGE
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S TRADLING Y OCCA
C ARLSON & R AUTH
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        LAWYERS
   N E W P O R T B E AC H
                                                      [PROPOSED] ORDER ON JOINT STIP. OF DISMISSAL
                                 4831-5163-8166v2/102434-0012
